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EXHIBIT A
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                                                             EMPLOYMENT AGREEMENT
                                                                                                           
                                                                                        Employee ID: ___________

                    This EMPLOYMENT AGREEMENT (this “Agreement”), made this 17th day of February, 2021, by and
                                                                                                    
           between Aston Carter, Inc. , hereinafter referred to as “COMPANY”, and ____________________,

           hereinafter referred to as “EMPLOYEE.”

                    WHEREAS, COMPANY is engaged in the highly competitive businesses of recruiting, sales,

           employing, and providing the services of professional, financial, call center, and/or other personnel on a

           temporary, contract, contract to permanent, or permanent basis to companies and other entities

           throughout the United States and other countries (hereinafter collectively “ COMPANY’s Business”);

                      WHEREAS, the parties hereto recognize and acknowledge that COMPANY will provide EMPLOYEE

             portions of the Confidential Information (as defined in Paragraph 6 hereof) of COMPANY for use in the

             performance of these services and of this Agreement. EMPLOYEE further acknowledges that the Confidential

             Information is a valuable property right of COMPANY, and that the same is information and knowledge not

             generally known in the public domain and that the maintenance of secrecy concerning the Confidential

             Information is essential to the business affairs, value, effectiveness, good will, competitive advantage, and

             continuing viable business status of COMPANY;

                      WHEREAS, the parties hereto recognize, and do hereby acknowledge, that the disclosure to other

             third- party persons or organizations, misappropriation, collection or retention for future use, whether

             directly or indirectly, of the Confidential Information will irreparably and substantially cause considerable

             financial and other loss, detriment and damage to COMPANY;

                      WHEREAS, EMPLOYEE will: (a) become intimately involved with and knowledgeable of COMPANY’s

             Confidential Information; (b) become personally acquainted with and have regular access to COMPANY’s

             Business relationships including but not limited to its customers; and (c) receive COMPANY’s unique and

             specialized training;

                Aston Carter Non Director EA Agreement Rev. Dec. 2020                                                   1
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                        WHEREAS, COMPANY wishes to be able to provide EMPLOYEE with access to COMPANY’s B usiness

                relationships including with customers and impart portions of the Confidential Information to EMPLOYEE

                with the secure knowledge that such                   Confidential Information will be solely and strictly used for

                COMPANY’s exclusive benefit and not in competition with or to the detriment of COMPANY, directly or

                indirectly, by EMPLOYEE or any of his/her agents, servants, future employees or consultants, or future

                employers;

                      NOW THEREFORE, in consideration of the foregoing and of the mutual covenants and restrictions

           contained herein, and other valuable consideration, the receipt and sufficiency of which is hereby

           acknowledged, each of the parties, their respective personal representatives, heirs, successors and assigns,

           intending to be legally bound hereby agree as follows

           1.         AGREEMENT OF EMPLOYMENT: COMPANY hereby employs or agrees to continue to employ the

           above named EMPLOYEE for the applicable position in Recruiting, Sales or Practice Leadership (in respective

           positions/titles including but not limited to Recruiter Trainee, Recruiter, P r a c t i c e L e a d , a n d A c c o u n t

           Manager            , On Premise Manager, and On Premise Account Executive)with a base annual salary (which

           includes, where applicable, a geographic differential ) to be paid in weekly installments or on such other

           periodic basis as shall be determined by COMPANY in accordance with applicable law, plus incentive pay

           (including, but not limited to, bonuses) as may be determined by                     COMPANY in its sole and absolute

           discretion from time to time.

                      EMPLOYEE agrees to be so employed and may be promoted and compensated accordingly at

           COMPANY’s sole and absolute discretion. In addition, EMPLOYEE agrees that EMPLOYEE’s salary may change

           if EMPLOYEE is relocated (where a higher, lower, or no location adjustment is paid). The scope of EMPLOYEE’s

           employment, including duties, assignments, positions and all responsibilities, shall be as established by

           COMPANY from time to time. The parties agree that EMPLOYEE shall devote his/her full time, loyalty,

           attention, and energies to EMPLOYEE’s job responsibilities and COMPANY’s Business, and during the term of

           this Agreement shall not enter into or engage in any conflicting business activity.
                  Aston Carter Non Director EA Agreement Rev. Dec. 2020                                                        2
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                      In turn, COMPANY will provide EMPLOYEE with: (a) Confidential Information belonging to COMPANY

           and updates thereto; (b) authorization to communicate with customers and prospective customers; (c)

           authorization to communicate with Contract Employees (as defined in Paragraph 4); and/or (d) authorization

           to receive or participate in specialized training related to COMPANY’s Business. EMPLOYEE’s services are of

           special, unique and extraordinary                value to COMPANY, and EMPLOYEE’s special position of trust and

           confidence necessitates the restrictions in this Agreement. EMPLOYEE stipulates that the restrictions in this

           Agreement (including post-employment restrictions) are reasonable and necessary to preserve COMPANY’s

           legitimate and protectable business interests in, among other things, its trade secrets, Confidential

           Information, and goodwill with customers and employees, and they do not unduly interfere with EMPLOYEE’s

           ability to earn a livelihood. EMPLOYEE further stipulates that the confidentiality obligations of this Agreement

           are inadequate to protect trade secrets and Confidential Information standing alone and that the additional

           restrictions (such as Paragraphs 3 & 4) are necessary because activities of the type restricted therein lead to

           the use or disclosure of COMPANY’s trade secrets and Confidential Information in ways that either cannot be

           detected or can only be detected after irreparable harm has occurred.

                        As used in this Agreement, “Affiliates” means COMPANY’s successors in interest, affiliates (as

             defined in Rule 12b-2 under Section 12 of the Securities Exchange Act), subsidiaries, parents,

             purchasers, or assignees.

             2.            TERM OF EMPLOYMENT: The term of employment shall continue until terminated by either

             party. EMPLOYEE agrees and expressly understands that the term of employment under this Agreement

             is “at will,” with no certain term of employment being offered or promised and that no guaranteed or

             definite term of employment is being given or implied by this Agreement. Although EMPLOYEE’s

             employment is “at will,” EMPLOYEE agrees to provide COMPANY two (2) weeks’ advance notice of

             EMPLOYEE’s decision to terminate employment for the reasonable purpose of facilitating the transition of

             responsibilities or ongoing matters as COMPANY might require. It is further expressly understood and

             agreed by EMPLOYEE that COMPANY may terminate EMPLOYEE’s employment with COMPANY at any time
                  Aston Carter Non Director EA Agreement Rev. Dec. 2020                                                  3
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             either with or without cause, in COMPANY’s sole and absolute discretion. In the event that COMPANY

             terminates EMPLOYEE’s employment for cause as determined solely by COMPANY, then EMPLOYEE shall

             not be entitled to any advance notice of said termination. Should EMPLOYEE’s employment be terminated

             by COMPANY without cause, then EMPLOYEE shall be afforded a minimum of twenty-four (24) hours’

             notice of said termination. Such notice shall be given to EMPLOYEE either orally or in writing, and if in

             writing shall be effective as of the date delivered, or sent, if by mail, to EMPLOYEE’s last known address

             carried on COMPANY’s files. EMPLOYEE agrees to keep COMPANY informed as to EMPLOYEE’s current

             living and mailing address at all times while employed by COMPANY.

                     The terms of Paragraphs 3 through 16 (including the State Specific Appendix attached hereto) of this

           Agreement shall survive the termination, for whatever reason, of EMPLOYEE’s employment with COMPANY.

           3.             NON-COMPETE COVENANT: EMPLOYEE agrees that upon the termination of EMPLOYEE’s

           employment, whether by COMPANY or EMPLOYEE and whether with or without cause, for a period of

           eighteen (18) months thereafter (“Restricted Period”), EMPLOYEE shall not directly or indirectly engage in

           or prepare to engage in, or be employed by, any business that is engaging in or preparing to engage in any

           aspect of COMPANY’s Business for which EMPLOYEE performed services or about which EMPLOYEE

           obtained Confidential Information during the two (2) year period preceding termination of EMPLOYEE’s

           employment (“Look Back Period”), within a radius of fifty (50) miles from the office in which EMPLOYEE

           worked at the time EMPLOYEE’s employment terminated or any other office in which EMPLOYEE worked

           during the Look Back Period (“Restricted Area”).

                     The prohibitions contained in this Paragraph shall extend to (i) activities undertaken by EMPLOYEE

           directly on EMPLOYEE’s own behalf, and (ii) activities undertaken by EMPLOYEE indirectly through any

           individual, or entity which undertakes such prohibited activities with EMPLOYEE’s assistance and in or with

           respect to which EMPLOYEE is an owner, officer, director, trustee, shareholder, creditor, employee, agent,

           partner or consultant or participates in some other capacity.

            4.            NON-SOLICITATION COVENANT: EMPLOYEE agrees that upon the termination of EMPLOYEE’s
                 Aston Carter Non Director EA Agreement Rev. Dec. 2020                                               4
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             employment, whether by COMPANY or EMPLOYEE and whether with or without cause, for the Restricted

             Period EMPLOYEE shall not directly or indirectly:

                         (a)      Communicate with any individual or entity which is a Covered Customer for the purpose

             of:

                                   (i)        entering into any business relationship with such Covered Customer if the business

                                   relationship is competitive with any aspect of COMPANY’s Business (or any COMPANY

                                   affiliate which employed EMPLOYEE during the Look Back Period) for which EMPLOYEE

                                   performed services or about which EMPLOYEE obtained Confidential Information during the

                                   Look Back Period, or

                                   (ii)       reducing or eliminating the business such customer conducts with COMPANY (or any

                                   COMPANY affiliate which employed EMPLOYEE during the Look Back Period); or

                        (b)       Communicate with any person who has been a Regular Employee within the Look Back

           Period and about whom EMPLOYEE obtained knowledge or had contact by reason of EMPLOYEE’s

           employment with COMPANY (or any COMPANY affiliate which employed EMPLOYEE during the Look Back

           Period) for the purpose of:

                                   (i)        providing services to any individual or entity whose business is competitive with

                                   COMPANY, or

                                   (ii)       leaving the employ of COMPANY; or

                         (c)      Communicate with any person who has been a Contract Employee within the Look Back

             Period and about whom EMPLOYEE obtained knowledge or had contact by reason of EMPLOYEE’s

             employment with COMPANY (or any COMPANY affiliate which employed EMPLOYEE during the Look Back

             Period) for the purpose of:

                                   (i)        ceasing work for COMPANY at customers of COMPANY , or

                                   (ii)       refraining from beginning work for COMPANY at customers of COMPANY,
                                         or

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                                (iii)    providing services to any individual or entity whose business is competitive with

                                COMPANY.

           As used in this Paragraph 4: “Regular Employee” means an employee of COMPANY who is not a “Contract

           Employee”; and “Contract Employee” means an employee or candidate for employment of COMPANY who

           is or was employed to perform services or solicited by EMPLOYEE to perform services at or for customers of

           COMPANY; and “Covered Customer” means an COMPANY customer (person or entity) that EMPLOYEE had

           business-related contact with or obtained Confidential Information about during the Look Back Period, and,

           where enforceable under applicable law, a Covered Customer shall also include those persons or entities

           with whom COMPANY had a reasonable expectation of doing business based on pending requests for

           proposal, open bids or similar communications in form and substance in which EMPLOYEE was involved

           occurring during the Look Back Period.

                    The prohibitions contained in (a), (b) and (c) above shall extend to (i) activities undertaken by

           EMPLOYEE directly on EMPLOYEE’s own behalf, and to (ii) activities undertaken by EMPLOYEE indirectly

           through any individual or entity which undertakes such prohibited activities with EMPLOYEE’s assistance

           and in or with respect to which EMPLOYEE is an owner, officer, director, trustee, shareholder, creditor,

           employee, agent, partner or consultant or participates in some other capacity.

                    Where required by applicable law, the restrictions in Paragraph 4 shall be limited to the Restricted

           Area.

           5.            INDEMNIFICATION AND HOLD HARMLESS: EMPLOYEE represents and warrants that

           EMPLOYEE’s employment with COMPANY will not violate the terms and conditions of any agreements

           entered into by EMPLOYEE prior to or during EMPLOYEE’s employment with COMPANY (including but not

           limited to agreements with prior employers). EMPLOYEE covenants and agrees to indemnify and hold

           COMPANY harmless (including but not limited to payment of COMPANY’s attorneys’ fees and costs) from

           any and all suits or claims arising out of any breach of any terms and conditions contained in any such

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           agreements entered into by EMPLOYEE.

            6.            COVENANT NOT TO DIVULGE CONFIDENTIAL INFORMATION: EMPLOYEE covenants and agrees

             that, except as required by the proper performance of EMPLOYEE’s duties for COMPANY, EMPLOYEE shall

             not use, disclose or divulge any Confidential Information of COMPANY (or any COMPANY affiliate which

             employed EMPLOYEE during the Look Back Period) to any other person or entity besides COMPANY. For

             purposes of this Agreement, “Confidential Information” shall mean information not generally known by

             the competitors of COMPANY or the general public concerning COMPANY’s Business that COMPANY takes

             reasonable measures to keep secret, including but not limited to: financial information and financial

             controls; sales and marketing strategies; acquisition plans; pricing and costs; customers’ names,

             addresses, e-mail addresses, telephone numbers, and contact persons; customers’ staffing requirements;

             margin tolerances regarding pricing; the names, e-mail addresses, addresses, telephones numbers, skill

             sets, availability and wage rates of Contract Employees; sales, recruiting, pricing and marketing

             techniques; sales and recruiting manuals; forms and processes for acquiring and recording information;

             management analysis of salaries based on market competitiveness, employee compensation, and

             performance evaluations of Regular Employees; and management practices, procedures and processes.

             These restrictions on use or disclosure of Confidential Information will only apply for two (2) years after

             the end of EMPLOYEE’s employment where information that does not qualify as a trade secret is

             concerned. The restrictions will apply to trade secret information for as long as the information remains

             qualified as a trade secret.

                     With the exception of management analyses of personnel information acquired as part of

           EMPLOYEE’s job duties for COMPANY, if EMPLOYEE is a non-management employee then Confidential

           Information will not include otherwise lawfully acquired information about salary, wages, hours or other

           terms and conditions of employment for non-management employees that is or can be used by non-

           management employees for purposes protected by §7 of the National Labor Relations Act such as joining or

           forming a union, engaging in collective bargaining, or engaging in other concerted activity for their mutual
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           aid or protection. If EMPLOYEE receives a subpoena, court order, or similar directive that compels disclosure

           of Confidential Information, EMPLOYEE will provide COMPANY’s legal department as much advance notice

           as possible under the circumstances so that it may take steps to protect its Confidential Information

           unless such notice is prohibited by law. If EMPLOYEE learns during EMPLOYEE’s employment of any

           unauthorized use or disclosure of COMPANY’s Confidential Information, EMPLOYEE will immediately notify

           the human resources department or EMPLOYEE’s immediate supervisor. To the extent EMPLOYEE retains

           any rights of ownership and/or control in Confidential Information, EMPLOYEE does hereby assign all such

           rights to COMPANY to the fullest extent allowed by law. This paragraph is subject to Paragraph 16 below.

           7.            RETURN AND PRESERVATION OF RECORDS: EMPLOYEE agrees, upon termination of

           EMPLOYEE’s employment with COMPANY for any reason whatsoever or sooner if requested, to return to

           COMPANY all records and other property (whether on paper, computer discs or in any other form and

           including, but not limited to, Confidential Information), and copies thereof, belonging or pertaining to

           COMPANY (collectively “Company Records”), subject to Paragraph 16. EMPLOYEE further agrees not to

           engage in any unauthorized destruction or deletion of Company Records during employment or upon

           termination of employment, including, without limitation, the deletion of electronic files, data, records

           or e-mails. EMPLOYEE agrees that all compilations of information possessed or acquired by COMPANY,

           or created or maintained by EMPLOYEE in the course of employment for COMPANY, such as business-

           related contact lists, prospect lists, and forms shall be the property of COMPANY and shall be treated as

           Company Records irrespective of whether they qualify as Confidential Information or not. EMPLOYEE

           acknowledges that EMPLOYEE’s authorization to access COMPANY computer systems is limited and that

           access or use of such systems to compete or to prepare to compete is unauthorized and strictly

           prohibited. EMPLOYEE will take such steps requested by COMPANY to inspect and confirm that Company

           Records have been removed or deleted from all storage places, equipment, devices or accounts in

           EMPLOYEE’s control. Notwithstanding the foregoing, nothing herein prohibits EMPLOYEE from retaining

           copies of wage and benefit statements and related records and information provided by COMPANY to
                Aston Carter Non Director EA Agreement Rev. Dec. 2020                                                8
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           EMPLOYEE regarding EMPLOYEE’s compensation and benefits (including but not limited to insurance

           claims), information lawfully made publicly available by COMPANY, and documents required for

           EMPLOYEE’s compliance with state and federal income tax and similar reporting requirements.

           8.            REMEDIES; DAMAGES: (a) EMPLOYEE recognizes that irreparable damage will result to

           COMPANY in the event of the violation of any covenant contained in Paragraphs 3, 4, 6 and 7 hereof made

           by EMPLOYEE, and agrees that in the event of such violation, COMPANY shall be entitled to, and EMPLOYEE

           agrees to the entry of, an injunction (temporary restraining order, preliminary and permanent) or other

           equitable relief in any court of competent jurisdiction, enjoining any such violations by EMPLOYEE. In

           furtherance of the foregoing, EMPLOYEE hereby waives any and all defenses EMPLOYEE may have on the

           ground of the lack of jurisdiction or competence of the court to grant such an injunction or other equitable

           relief.

                      (b)      EMPLOYEE further recognizes and acknowledges that it would be difficult to ascertain any

           damages incurred (if not prevented by an injunction) arising from a violation by EMPLOYEE of the covenants

           contained in Paragraphs 3, 4, 6 and 7 hereof. EMPLOYEE agrees that as damages, and not as a penalty, arising

           as a consequence of a violation of the covenants contained in Paragraphs 3, 4(a), 4(c), 6 and 7 EMPLOYEE

           shall pay to COMPANY an amount equal to one hundred percent (100%) of the gross profit, or twenty-five

           percent (25%) of the gross sales, whatever amount is greater, resulting from business generated by

           EMPLOYEE, either directly or indirectly, on EMPLOYEE’s own account or as agent, owner, officer, director,

           trustee, creator, partner, consultant, stockholder, employer, employee, or otherwise for or in conjunction

           with any other person or entity, through soliciting or otherwise competing for COMPANY’s Business,

           customers, personnel or using or disclosing Confidential Information in violation of Paragraphs 3, 4(a), 4(c), 6

           or 7 hereof. In the event that EMPLOYEE violates Paragraph 4(b), then EMPLOYEE shall pay to COMPANY a

           sum equal to 15% of the total annual compensation that COMPANY paid to each Regular Employee. This

           amount of liquidated damages based on total annual compensation is a good-faith attempt to estimate the

           actual damages that will result from violation of Paragraph 4(b) based on the costs to COMPANY of recruiting,
                Aston Carter Non Director EA Agreement Rev. Dec. 2020                                                  9
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           training, and loss of productivity through the loss of a Regular Employee who is improperly solicited away.

                      (c)        If EMPLOYEE violates one of the post-employment restrictions in this Agreement that

           contains a time limitation, the time period for the restriction at issue shall be extended by one day for

           each day EMPLOYEE remains in violation of the restriction; provided, however, that this extension of time

           shall be capped so that once EMPLOYEE has complied with the restriction for the originally proscribed

           length of time, it shall expire.

                      (d)        The foregoing shall not preclude any other rights or remedies at law or in equity that

           COMPANY may have.

           9.               WAIVER OF BREACH: The waiver by COMPANY of a breach of any provision of this

           Agreement by the EMPLOYEE shall not operate or be construed as a waiver of any subsequent breach

           by the EMPLOYEE. No waiver of any rights under this Agreement will be effective as to COMPANY unless

           made in writing and signed by an authorized officer of COMPANY.

           10.              SITUS OF AGREEMENT; JURISDICTION: This Agreement is being entered into in the State of

            Maryland and thus shall be governed by, construed, interpreted and enforced in accordance with the laws

            of the State of Maryland, without giving effect to the principles of conflicts of laws thereof. Each of the

            parties hereto hereby irrevocably consents and submits to the exclusive jurisdiction of the Circuit Court

            for Anne Arundel County, Maryland, or any Federal court sitting in the State of Maryland, for the purposes

            of any controversy, claim, dispute or action arising out of or related to this Agreement, and hereby waives

            any defense of any inconvenient forum and any right of jurisdiction on account of EMPLOYEE’s place of

            residence or domicile.

            11.              SEVERABILITY: If any term, provision, covenant or condition of this Agreement, or the

            application thereof to any circumstance or party hereto, shall, to any extent, be invalid or unenforceable

            in any jurisdiction, the remainder of this Agreement, or application of such term, provision, covenant or

            condition to such circumstance or party, other than those as to which it is held invalid or unenforceable,


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            shall not be affected thereby, and each remaining term, provision, covenant or condition of this Agreement

            shall be valid and enforceable to the fullest extent permitted by applicable law. Any such invalidation or

            unenforceability in any jurisdiction shall not render unenforceable such provision in any other jurisdiction.

            Without limiting the generality of the foregoing, if a court of competent jurisdiction should determine that

            any of the restrictions contained in Paragraphs 3, 4 or 6 hereof are unreasonable in terms of scope,

            duration, geographic area or otherwise, such provision shall be deemed reformed to the minimum extent

            necessary such that such restriction shall be rendered enforceable.

            12.             WAIVER OF RIGHT TO JURY TRIAL: BY EXECUTING THIS AGREEMENT, THE PARTIES HERETO

            KNOWINGLY AND WILLINGLY WAIVE ANY RIGHT THEY HAVE UNDER APPLICABLE LAW TO A TRIAL BY

            JURY IN ANY DISPUTE ARISING OUT OF OR IN ANY WAY RELATED TO THIS AGREEMENT, EMPLOYEE’S

            EMPLOYMENT WITH COMPANY, OR THE ISSUES RAISED BY ANY SUCH DISPUTE.

            13.             EARLY RESOLUTION CONFERENCE/NOTICE TO EMPLOYER. EMPLOYEE will give COMPANY

            written notice at least fourteen (14) days prior to (a) violating any provision of Paragraphs 3, 4, 6 or 7;

            and/or (b) challenging the enforceability of Paragraphs 3, 4, 6 and/or 7 (including subparts), and will

            participate in a mediation or in-person conference if requested to do so by COMPANY within thirty (30)

            days of such a request in order to help avoid unnecessary legal disputes. Should EMPLOYEE fail to comply

            with this Paragraph’s notice or mediation/in-person conference requirement, EMPLOYEE acknowledges

            and agrees that such failure will serve as a waiver of EMPLOYEE’s right to challenge the enforceability of

            Paragraphs 3, 4, 6, and 7 to the extent permissible under applicable law. EMPLOYEE agrees that during

            employment and for a period of two (2) years thereafter, EMPLOYEE will provide any employer that offers

            him/her a position a copy of this Agreement before accepting the position offered. The parties agree that

            they will both have the right to express an opinion on the meaning and/or enforceability of this Agreement

            to EMPLOYEE’s new or prospective employers. EMPLOYEE agrees not to use any such communication by

            COMPANY as the basis for a claim of tortious interference or other legal action against COMPANY. Any

            claim EMPLOYEE may have against COMPANY shall not prevent or limit the application of any restrictive
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            covenant in this Agreement.

            14.             ATTORNEYS’ FEES: Should COMPANY sue to enforce this Agreement or to seek damages or

            injunctive relief for EMPLOYEE’S breach of this Agreement, and COMPANY is the prevailing party in such

            suit, COMPANY shall be entitled to recover its attorneys’ fees and costs incurred in connection with such

            suit. COMPANY shall be considered the prevailing party if it is granted any legal or equitable relief, without

            regard to whether some of the relief requested by it is denied or whether the Court needed to reform

            portions of the Agreement to enforce it.

            15.             ENTIRE AGREEMENT/ASSIGNMENT: This Agreement represents the entire agreement

            between the parties with respect to the subject matter covered by this Agreement. This Agreement

            supersedes any and all prior agreements or understandings, oral or written, between the parties hereto

            pertaining to the subject matter covered by this Agreement, and may not be changed orally. EMPLOYEE

            agrees that COMPANY may assign this Agreement to any transferee of all or substantially all of the assets

            of COMPANY, and hereby consents to any such assignment, which shall not, in and of itself, constitute a

            termination of the EMPLOYEE’s employment hereunder. EMPLOYEE agrees that this Agreement may be

            enforced by COMPANY’s assignees without need of any further authorization or agreement from

            EMPLOYEE. The parties hereto understand that this Agreement shall remain in effect notwithstanding any

            job change, change in responsibilities, or job assignment by EMPLOYEE within or between COMPANY or

            its Affiliates.      COMPANY and its parent, subsidiaries, Affiliates, and divisions that EMPLOYEE provides

            services to or is provided Confidential Information about are all intended beneficiaries of this Agreement,

            including TEKsystems, Aston Carter, Allegis Global Solutions, and EASi, and shall be treated the same as

            COMPANY for purposes of all of the protections provided for in this Agreement. EMPLOYEE’s obligations

            under this Agreement are personal in nature and thus cannot be assigned or disavowed by EMPLOYEE

            without COMPANY’s written consent.

            16.            AGREEMENT LIMITATIONS: The purpose of this Agreement is to protect COMPANY from

            harm through misappropriation of its trade secrets, proprietary information and materials, and other
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            forms of unfair competition. Nothing in this Agreement prohibits EMPLOYEE from communicating

            information (Confidential Information or otherwise) about or reporting an event that EMPLOYEE

            reasonably and in good faith believes is a violation of law to the relevant law-enforcement agency (such

            as the Equal Employment Opportunity Commission), requires notice to or approval by COMPANY before

            doing so, or prohibits EMPLOYEE from cooperating or participating in an investigation or legal

            proceeding conducted by such a governmental agency, provided, however, that this shall not be

            construed to permit illegal conduct such as unauthorized access to COMPANY’s computer systems or theft

            of COMPANY property. EMPLOYEE acknowledges notice that under the 2016 Defend Trade Secrets Act

            (DTSA): (a) no individual will be held criminally or civilly liable under Federal or State trade secret law for

            the disclosure of a trade secret (as defined in the Economic Espionage Act) that: (i) is made in confidence

            to a Federal, State, or local government official, either directly or indirectly, or to an attorney; and made

            solely for the purpose of reporting or investigating a suspected violation of law; or, (ii) is made in a

            complaint or other document filed in a lawsuit or other proceeding, if such filing is made under seal so that

            it is not made public; and, (b) an individual who pursues a lawsuit for retaliation by an employer for

            reporting a suspected violation of the law may disclose the trade secret to the attorney of the

            individual and use the trade secret information in the court proceeding, if the individual files any

            document contain the trade secret under seal, and does not disclose the trade secret, except as permitted

            by court order.

                         Nothing in this Agreement shall prohibit EMPLOYEE or other employees from exercising the rights

           protected by the National Labor Relations Act (NLRA). Under the NLRA, employees who are not in a

           supervisor or management role have a right to self-organization, to form, join, or assist labor

           organizations, to bargain collectively through representatives of their own choosing, and to engage in

           other concerted activities for the purpose of collective bargaining or other mutual aid or protection, and to

           refrain from any or all of such activities. The foregoing exceptions shall not, however, be deemed to

           authorize or limit liability for an act by EMPLOYEE that would otherwise be illegal absent this Agreement
                Aston Carter Non Director EA Agreement Rev. Dec. 2020                                                 13
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           such as unlawful access of material by unauthorized means, or theft of COMPANY property.


           EMPLOYEE ACKNOWLEDGES THAT HE/SHE HAS READ THIS AGREEMENT, HAS HAD THE OPPORTUNITY TO
           CONSULT WITH COUNSEL, AND ENTERS INTO IT KNOWINGLY AND VOLUNTARILY.



           As WITNESS the hands and seals of the parties hereto the year and day first above written.



           ASTON CARTER, INC.




           BY:


           Taressa Lawrence
           (PRINT NAME)


           EMPLOYEE:

           BY: ____________________

                             
           ____________________
           (PRINT NAME)




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                                             APPENDIX OF STATE-SPECIFIC MODIFICATIONS

           California:

                   While EMPLOYEE is a resident of California and California law controls: (a) the restrictions in
           Paragraph 4(a) will be limited so that they only apply where EMPLOYEE is aided by the use or disclosure of
           trade secrets; (b) the restrictions in Paragraph 3, 4(b)(i), and 4(c)(iii) will not apply; and (c) provisions in
           Paragraph 10 will not apply; and the jury trial waiver contained in Paragraph 12 will not apply.

           Colorado:

                 While EMPLOYEE is a resident of Colorado and Colorado law controls, if EMPLOYEE is not an executive,
           member of management, officer, or an employee who constitutes professional staff to executive and
           management personnel, then Paragraph 3 shall be modified as follows:

                       EMPLOYEE agrees that upon the termination of EMPLOYEE’s employment, whether by
                       COMPANY or EMPLOYEE and whether with or without cause, for a period of eighteen (18)
                       months thereafter, EMPLOYEE shall not directly or indirectly engage in or prepare to
                       engage in, or be employed by, if such activity would involve the use or disclosure of
                       COMPANY’s trade secrets, any business that is engaging in or preparing to engage in any
                       aspect of COMPANY’s Business for which EMPLOYEE performed services or about which
                       EMPLOYEE obtained trade secrets during the Look Back Period, within the Restricted
                       Period during Look Back Period.

                    For purposes of Paragraph 4(a), the non-solicitation obligation is to protect COMPANY from misuse
           of trade secrets relating to COMPANY’s Covered Customers that EMPLOYEE received access to, and the
           definition of Covered Customer shall be modified to only include those that EMPLOYEE had obtained trade
           secrets about during Look Back Period.

           Illinois:

                  While EMPLOYEE is a resident of Illinois and is paid $13.00 per hour or less, the restrictions in
           Paragraph 3 will not apply.

           Georgia:

                   While EMPLOYEE is a resident of Georgia and Georgia law controls the jury trial waiver
           contained in Paragraph 12 will not apply.

           Louisiana:

                    While EMPLOYEE is a resident of Louisiana and Louisiana law controls, the enforcement of the
           restrictions in Paragraphs 3 and 4(a) will be limited within the state of Louisiana to the following Parishes
           where EMPLOYEE has helped or will help COMPANY do business, or the portions of these Parishes that are
           covered by the Restricted Area definition, whichever is fewer; provided, however, that nothing in
           Agreement may be construed to prohibit the enforcement of Paragraphs 3 and 4(a) in accordance with their
           terms in states outside of Louisiana (circle all that apply):


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                    Acadia                     Allen                   Ascension                 Assumption
                    Avoyelles                  Beauregard              Bienville                 Bossier
                    Caddo                      Calcasieu               Caldwell                  Cameron
                    Catahoula                  Claiborne               Concordia                 De Soto
                    East Baton Rouge           East Carroll            East Feliciana            Evangeline
                    Franklin                   Grant                   Iberia                    Iberville
                    Jackson                    Jefferson               Jefferson Davis           Lafayette
                    Lafourche                  La Salle                Lincoln                   Livingston
                    Madison                    Morehouse               Natchitoches              Orleans
                    Ouachita                   Plaquemines             Pointe Coupee             Rapides
                    Red River                  Richland                Sabine                    St. Bernard
                    St. Charles                St. Helena              St. James                 St. John the Baptist
                    St. Landry                 St. Martin              St. Mary                  St. Tammany
                    Tangipahoa                 Tensas                  Terrebonne                Union
                    Vermilion                  Vernon                  Washington                Webster
                    West Baton Rouge           West Carroll            West Feliciana            Winn




           Massachusetts:

                   While EMPLOYEE is a resident of Massachusetts and Massachusetts law controls, Paragraph 3 shall
           not apply, and COMPANY shall not be bound by the Massachusetts Noncompetition Agreement Act.

           Nebraska:

                      While EMPLOYEE is a resident of Nebraska and Nebraska law controls, Paragraphs 3, 4(b)(i) and
           4(c)(iii) shall not apply, and the enforcement of the restrictions in Paragraph 4(a) will be limited to customers
           and clients with whom EMPLOYEE did business and had personal contact.

           Nevada:

                    While EMPLOYEE resides in Nevada and Nevada law controls, then the Restricted Period shall be six
           (6) months if EMPLOYEE has been employed with COMPANY for less than twelve (12) months, and twelve
           (12) months if EMPLOYEE has been employed with COMPANY for twelve (12) months or more. The
           restrictions in Paragraph 4(a) regarding business conducted with a Covered Customer shall be modified to
           provide that nothing in the restriction will prohibit EMPLOYEE from providing service to a former Covered
           Customer that EMPLOYEE did not solicit if the Covered Customer voluntarily chooses to seek services from
           EMPLOYEE without any contact instigated by EMPLOYEE.

           New York:

                  While EMPLOYEE resides in New York and New York law controls, Paragraph 4(a) shall be deemed
           modified so that the definition of “Covered Customer” excludes those customers who became customers
           of COMPANY only as result of EMPLOYEE’s independent contact and business development efforts with
           them prior to and independent from EMPLOYEE’s position with COMPANY.

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           North Carolina:

                   While EMPLOYEE is a resident of North Carolina and North Carolina law controls, the definition of
           “Look Back Period” as set forth in Paragraph 3 is modified to mean the period EMPLOYEE was employed by
           COMPANY looking back one (1) year from the date of termination, or if not enforceable, then such lesser
           period as a court deems enforceable, and the jury trial waiver contained in Paragraph 12 will not apply.

           North Dakota:

                     While EMPLOYEE resides in North Dakota and North Dakota law controls, Paragraphs 3, 4(b)(i), and
           4(c)(iii) shall not apply, Paragraph 4(a) shall only be applicable to the extent that EMPLOYEE’s conduct
           involves the unauthorized use or disclosure of COMPANY’s trade secrets.

           Oklahoma:

                   While EMPLOYEE resides in Oklahoma and Oklahoma law controls, Paragraph 3 shall not apply, and
           Paragraph 4(a) shall be modified to provide that EMPLOYEE may not directly solicit the sale of goods,
           services, or a combination of goods and services, that compete with those of COMPANY from the established
           customers of COMPANY.

           Utah:

                    While EMPLOYEE is a resident of Utah and Utah law controls, Paragraph 3 is modified to reduce the
           Restricted Period to 12 months.

           Wisconsin:

                   While EMPLOYEE resides in Wisconsin and Wisconsin law controls, Paragraph 4(b) shall apply to an
           employee of COMPANY that EMPLOYEE worked with or was provided Confidential Information about during
           the Look Back Period, if the COMPANY employee is in a management, supervisory, sales, research and
           development, or similar role where he or she is provided Confidential Information or is involved in business
           dealings with COMPANY’s customers; and the last sentence of Paragraph 8 regarding tolling shall not apply.


             All employees in the states listed above must initial and date this appendix.

             
           _______________Date

           _______________ (Initials)




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